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 4                                                                       JUN 11 2019
 5
                                                                    CLERK U.S. BANKRUPTCY COURT

 6   Attorney for Debtor and                                        Central District of California
                                                                    BY kaaumoanDEPUTY CLERK
     Debtor in Possession
 7
                                                             CHANGES MADE BY COURT
 8

 9                             UNITED STATES BANKRUPTCY COURT

10                              CENTRAL DISTRICT OF CALIFORNIA

11                                       LOS ANGELES DIVISION

12
     In re                                         Case No.: 2:17-bk-22432 WB
13                                                 Chapter 11
     Point.360, a California corporation,
14                                                 ORDER CONFIRMING DEBTOR’S SECOND
                                                   AMENDED CHAPTER 11 PLAN AS
15                             Debtor.             MODIFIED

16
                                                   Plan Confirmation Hearing
17                                                 Date: June 5, 2019
                                                   Time: 3:00 p.m.
18                                                 Place: Courtroom 1375; Judge Brand
                                                          U.S. Bankruptcy Court
19                                                        255 E. Temple Street, 13th Floor
                                                          Los Angeles, CA 90012
20
21           On May 31, 2019 at 9:00 a.m., June 3, 2019 at 9:00 a.m. and June 5, 2019 at 3:00 p.m. in

22   the Courtroom of the Honorable Julia Brand, United States Bankruptcy Judge, the Court

23   considered the matter of confirming Second Amended Chapter 11 Plan as modified December 10,

24   2018 [ECF # 438] as modified (collectively, the “Plan”) pursuant to 11 U.S.C. §§ 1128 and

25   1129(a). All appearances were made as noted on the record.

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 1          The Court, having considered the Debtor’s Plan, all of the evidence filed and offered in

 2   support and opposition to confirmation, as well as the arguments and evidence presented at the

 3   confirmation hearings and having entered findings and conclusions in support of the confirmation

 4   on the record, hereby ORDERS as follows:

 5          1.      On June 10, 2019, the The Plan is confirmed pursuant to 11 U.S.C. § 1129(a).

 6   The Effective Date of the Plan is the date of entry of this order. The Debtor’s discharge shall be

 7   deemed entered contemporaneously with the Plan Effective Date.

 8          2.      It shall be a condition to the Effective Date of the Debtor’s Plan that (1) Haig

 9   Bagerdjian, or his nominee or assignee (the “New Lender”) shall be assigned all rights of Class 1

10   Secured Creditor Austin Financial Services, Inc. on or before the Effective Date and (2) New

11   Lender shall extend financing to the Reorganized Debtor on the terms of the existing DIP facility

12   with availability of credit provided to the Reorganized Debtor up to $3 million and the maturity

13   of this credit facility extended to July 8, 2020.

14          3.      The following Plan modifications are authorized pursuant to 11 U.S.C. § 1127 and

15   are deemed incorporated into the Plan as non-material plan modifications that do not materially

16   and adversely affect any party that previously voted for the Plan:

17      a. The language in the Treatment section for Class 1 found in the chart on page 5, line 19 of

18          the Debtor’s Plan shall be deleted and replaced with the following:

19          Haig Bagerdjian, or his nominee or assignee (the “New Lender”) shall be assigned all
20          rights of Class 1 Secured Creditor Austin Financial Services, Inc. on or before the
            Effective Date. New Lender shall extend financing to the Reorganized Debtor on the
21          terms of the existing DIP facility with availability of credit provided to the Reorganized
            Debtor up to $3 million and the maturity of this credit facility extended to July 8, 2020.
22
        b. The following language shall be inserted at the end the Treatment section of chart on page
23
            8, line 11 of the Debtor’s Plan:
24
            Haig Bagerdjian shall personally guarantee each of the monthly payments required to be
25          made to Class 6 up to and including July 8, 2020.
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 1      c. Section II.D.4. of the Debtor’s Plan on page 9, beginning at line 23-24 shall be deleted in

 2          its entirety and replaced with the following language:

 3          At or before the Effective Date, Debtor and the Committee shall share standing to
 4          prosecute any claims, including claims objections, against Medley Capital Corporation
            and Medley Opportunity Fund II, LP (“Medley Litigation”) and the Debtor and the
 5          Committee may settle, compromise, dismiss or otherwise dispose of such claims subject
            to Bankruptcy Court approval. The Committee shall also share standing with the Debtor to
 6          participate against any appeal of an order confirming this Plan. The Debtor’s counsel and
            Committee counsel shall cooperate to avoid duplication of fees and costs when their
 7          interests are aligned. For any professional fees and expenses accrued after the Effective
 8          Date, the Committee’s counsel shall be compensated at the blended hourly rate of $425,
            and paid upon seven (7) calendar days’ notice to the post-confirmation Debtor without
 9          further motion, application, notice or other order of the Bankruptcy Court. If the post-
            confirmation Debtor brings an objection to the Committee counsel’s billing statement that
10          is timely served and no consensual resolution can be reached, the Committee’s counsel
            may ask the Bankruptcy Court to resolve the dispute. The Committee’s counsel will not
11          charge for its efforts in monitoring the post-confirmation Debtor’s compliance with this
12          Plan unless there is a default of one or more of the Plan terms and/or there is a materially
            adverse change in the Plan. The post-confirmation Debtor shall pay all of the Committee’s
13          reasonable fees, including attorneys’ fees, and expenses after such default or materially
            adverse change in the Plan. Any net proceeds recovered from the Medley Litigation shall
14          be paid first to priority claims until paid in full and then all general unsecured
            creditors pro rata until paid in full and then to former allowed equity security holders pro
15
            rata according to their percentage stock ownership in the Debtor as of the Effective
16          Date. If the Committee does not wish to proceed as joint plaintiff in the Medley
            Litigation, the Medley Litigation claims will remain vested in the post-confirmation
17          Debtor and Debtor’s counsel shall remain as sole counsel. Provided that at least one
            Committee member remains on the Committee, the Committee shall remain in effect until
18          the general unsecured creditors are paid in full under this Plan.
19      d. Per the Los Angeles County Treasurer and Tax Collector (“LACTC”) limited objection
20          [ECF # 473], the Plan terms for the LACTC claim are changes to increase the claim
21          amount to $277,597.88 with monthly payments of $5,783.29 for 48 months.
22          4.      A post-confirmation status conference is hereby set for October 17, 2019 at 10:00
23   a.m. in Courtroom 1375, 13th Floor, U.S. Bankruptcy Court 255 E. Temple Street, Los Angeles,
24   California 90012. The Reorganized Debtor shall file a post-confirmation status report not later
25   than October 3, 2019, containing the information set forth in Local Bankruptcy Rule 3020-1(b),
26   unless the case is earlier concluded by issuance of a final decree.
27          5.      The Court will retain jurisdiction over the post confirmation estate until such estate
28   is fully administered and a final decree is entered.

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 1           6.      Upon the Effective Date, and except as expressly provided in the Plan, all

 2   transactions and other acts provided for under the Plan and the Exhibits thereto shall be deemed

 3   to be authorized and approved without further approval of the Court.

 4           7.      The 14-day stay of effectiveness of this order is waived pursuant to Federal Rule

 5   of Bankruptcy Procedure 3020(e), and this order shall become effective immediately upon entry.

 6           IT IS SO ORDERED.

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24   Date: June 11, 2019

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